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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

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VIRGINIA L. GIUFFRE,

        Plaintiff,
v.

GHISLAINE MAXWELL,                                                                                   15-cv-07433-LAP

        Defendant.


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                       GHISLAINE MAXWELL’S NOTICE OF FILING

        PLEASE TAKE NOTICE THAT the accompanying Notices, Memoranda of Law, and

supporting exhibits were filed today in United States v. Ghislaine Maxwell, Case No. 20cr330

(AJN), and are filed herewith in support of Ms. Maxwell’s motion for reconsideration and reply

thereto. Dkts. 1191 & 1204.


Dated: February 4, 2021
       New York, New York

                                                                                     Respectfully submitted,



                                                                                     /s/ Laura A. Menninger
                                                                                     Laura A. Menninger (LM-1374)
                                                                                     Jeffrey S. Pagliuca (pro hac vice)
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